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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                                  )
IN RE: NEW ENGLAND COMPOUNDING                                    )
PHARMACY, INC. PRODUCTS LIABILITY                                 )
LITIGATION                                                        )
                                                                  )
This Document Relates to:                                         )
                                                                  )
1:14-cv-12905-RWZ: Epperly v. Insight Health Corp., et al.        )
1:14-cv-12908-RWZ: McFarlane v. Insight Health Corp., et al.      ) MDL No. 1:13-md-2419-RWZ
1:14-cv-12910-RWZ: Smith v. Insight Health Corp., et al.          )
1:14-cv-12916-RWZ: Kalinoski v. Insight Health Corp., et al.      )
1:14-cv-12917-RWZ: Filson v. Insight Health Corp., et al.         )
1:14-cv-12919-RWZ: Bradley v. Insight Health Corp., et al.        )
1:14-cv-12924-RWZ: Foutz v. Insight Health Corp., et al.          )
1:14-cv-12927-RWZ: Whitlow v. Insight Health Corp., et al.        )
1:14-cv-12928-RWZ: Harris v. Insight Health Corp., et al.         )
1:14-cv-12929-RWZ: Smith v. Insight Health Corp., et al.          )
                                                                  )

   [PROPOSED] ORDER EXTENDING CERTAIN DEADLINES PER STIPULATION

       On August 12, 2014, the Defendant Insight Health Corp. and the Plaintiffs represented by

Gentry, Locke, Rakes & Moore P.C., and the Defendants Image Guided Pain Management LLC,

Robert F. O’Brien, M.D. and John M. Mathis, M.D. submitted a joint motion to extend deadlines

for Insight Health Corp. to file responsive pleadings, motions, and other papers in response to the

Amended Complaints filed and any cross claims that may be filed in the captioned cases as a

result of pending mediation. This Court finds good cause for the Motion and hereby grants the

Motion and orders as follows:

       All deadlines that would otherwise be applicable to Insight Health Corp. are stayed until

30 days following the conclusion of mediation currently set to begin in September, or as further

ordered by the Court.




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So Ordered.
                                         ________________
                                         Rya W. Zobel
                                         United States District Judge

Dated: __________, 2014




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